             Case 3:21-cv-05924-RJB Document 34 Filed 08/01/22 Page 1 of 2




 1   SaraEllen Hutchison (WSBA # 36137)                        THE HONORABLE JUDGE BRYAN
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 2   705 S 9TH ST STE 104
 3   Tacoma, WA 98405
     Telephone:     206-529-5195
 4   Facsimile:     253-302-8486
     Email: saraellen@saraellenhutchison.com
 5
     Attorney for Plaintiff
 6
 7
 8                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9
10   CHARLES ALBERT LAW,                                    NO. 3:21-cv-5924-RJB

11                            Plaintiff,                    NOTICE OF SETTLEMENT
                 v.                                         BETWEEN PLAINTIFFS AND
12                                                          TRANS UNION LLC
13   EQUIFAX INFORMATION SERVICES
     LLC, et al,
14
                              Defendants.
15
           NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND TRANS UNION
16
17          PLEASE TAKE NOTE THAT Plaintiff, CHARLES ALBERT LAW, and Defendant,
18
     TRANS UNION LLC (“Trans Union”) have reached an agreement on all material terms required
19   to settle all of Plaintiff’s claims against Trans Union in this action. Plaintiff and Trans Union
20   anticipate that the performance of the terms of the settlement agreement will be completed within
21   30 days of the date of this notice, by which time Plaintiff and Trans Union shall file a Stipulation
22   of Dismissal with Prejudice of Trans Union only from this action.
23          RESPECTFULLY SUBMITTED AND DATED this 1st day of August, 2022.
24
                                                    _S//SaraEllen Hutchison__________________
25                                                  SARAELLEN HUTCHISON (WSBA #36137)

26   NOTICE OF SETTLEMENT BETWEEN                       1
                                                               Law Office of SaraEllen Hutchison, PLLC
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                                                                        saraellen@saraellenhutchison.com
             Case 3:21-cv-05924-RJB Document 34 Filed 08/01/22 Page 2 of 2




 1
 2
 3                                    CERTIFICATE OF SERVICE

 4          I hereby certify under penalty of perjury under the laws of the State of Washington that

 5   on the 1st day of August, 2022 I electronically filed the foregoing with the Clerk of Court using
 6   the CM/ECF system which will automatically serve and send email notification of such filing to
 7
     all registered attorneys of record.
 8
 9   Dated this 1st day of August, 2022 at Tacoma, Washington.

10
                                            S//SaraEllen Hutchison____________________
11                                          SARAELLEN HUTCHISON (WSBA #36137)
                                            Law Office of SaraEllen Hutchison, PLLC
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                                            Counsel for Plaintiff
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26   NOTICE OF SETTLEMENT BETWEEN                      2
                                                             Law Office of SaraEllen Hutchison, PLLC
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